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                               UNITED STATES DISTRICT COURT
                                                                                 FILED
                                                                                  DEC 0 ~ 2012

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                                    DISTRICT OF SOUTH DAKOTA

                                       SOUTHERN DIVISION

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UNITED STATES OF AMERICA,                      *            CR 98-40101-03
                                               *
                       Plaintiff,              * MEMORANDUM OPINION AND
                                               * ORDER DENYING MOTION FOR
       -vs-                                    *        REDUCED SENTENCE
                                               *     tINDER 18 U.S.C. § 3582(c)(2)
JOSEPH D. ANDREWS, aIkIa "Jo Jo,"              *
                                               *
                       Defendant.              *
                                               *
* ** * * * * * * * * * * * * * * * * * * * * * * * ** * ** * * * *** * * * * ** * * * *** * *
        Pending before the Court is defendant Joseph Andrews' pro se motion for a reduced sentence
pursuant to 18 U.S.C. § 3582(c)(2). (Doc. 1219.) For the reasons set forth below, Defendant's
motion will be denied.


        Sentence reductions are permitted by 18 U.S.C. § 3582(c)(2) when the sentencing range for
the offense for which the defendant was sentenced has been lowered:
        [I]n the case ofa defendant who has been sentenced to a term of imprisonment based
        on a sentencing range that has subsequently been lowered by the Sentencing
        Commission pursuant to 28 U.S.c. § 994(0) ... the court may reduce the term of
        imprisonment, after considering the factors set forth in section 3553(a) to the extent
        that they are applicable, if such a reduction is consistent with applicable policy
        statements issued by the Sentencing Commission.


18 U.S.C. § 3582(c)(2). The applicable policy statement is USSG § 181.10, which designates the
amendments to the Sentencing Guidelines which may be applied retroactively. Section 181.10
provides, in relevant part, that:
        (a) Authority.­

        (1) In General.-In a case in which a defendant is serving a term of imprisonment,
        and the guideline range applicable to that defendant has subsequently been lowered
        as result of an amendment to the Guidelines Manual listed in subsection (c) below,
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       the court may reduce the defendant's term ofimprisonment as provided by 18 U.S.C.
       § 3582(c)(2). As required by 18 U.S.c. § 3582(c)(2), any such reduction in the
       defendant's term of imprisonment shall be consistent with this policy statement.


       (b) Determination of Reduction in Term of Imprisonment.­

       (1) In General.-In determining whether, and to what extent, a reduction in the
       defendant's term of imprisonment under 18 U.S.c. § 3582(c)(2) and this policy
       statement is warranted, the court shall determine the amended guideline range that
       would have been applicable to the defendant if the amendment(s) to the guidelines
       ... had been in effect at the time the defendant was sentenced. In making such
       determination, the court shall substitute only the amendments listed in subsection (c)
       for the corresponding guideline provisions that were applied when the defendant was
       sentenced and shall leave all other guideline application decisions unaffected.

       (2) Limitation and Prohibition on Extent of Reduction.­

       (A) Limitation.-Except as provided in subdivision (B), the court shall not reduce
       the defendant's term of imprisonment under 18 U.S.c. § 3582(c)(2) and this policy
       statement to a term that is less than the minimum of the amended guideline range
       determined under subdivision (1) of this subsection.

       (B) Exception for Substantial Assistance.-Ifthe term ofimprisonment imposed was
       less than the term of imprisonment provided by the guideline range applicable to the
       defendant at the time of sentencing pursuant to a government motion to reflect the
       defendant's substantial assistance to authorities, a reduction comparably less than the
       amended guideline range determined under subdivision (1) ofthis subsection may be
       appropriate.

USSG § IB1.lO(a), (b).


       Because the crack cocaine Guideline amendments may be applied retroactively, see USSG
§ IB 1.1O(c), ifthe sentencing range for Defendant's offense has been lowered by the amendments,
the Court has discretion under § 3582(c)(2) to reduce Defendant's sentence, after first considering
whether the reduction is consistent with applicable policy statements issued by the Sentencing
Commission.




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        On August 12,2005, Defendant was sentenced by this Court after ajury convicted him of
one count ofconspiring to distribute and possess with intent to distribute cocaine base ("crack") and
three counts of possession with intent to distribute crack in violation of21 U.S.C. §§ 841 (a)(1 ) and
846. The amount ofcrack attributed to Defendant resulted in an adjusted offense level of34. 1 After
adding three levels for his role in the offense, Defendant's total offense level was 37. 2 The Court
ruled that a Booker variance was warranted based on the 20: 1 crack to powder cocaine ratio
recommended by the Sentencing Commission in 2002. A two-level variance was applied, reaching
a total offense level of 35. As a career offender, Andrews' criminal history category was adjusted
from V to VI pursuant to USSG § 4B 1.1. With a criminal history category of VI, Defendant's
advisory guideline range was 292 to 365 months. 3 The statutory maximum term of imprisonment
for each count was 20 years (240 months).4 The Court sentenced Defendant to 240 months
imprisonment on each of the four counts, with the terms to be served concurrently, and a total of 52
months imprisonment on three ofthe counts, to be served consecutively to the 240 months, for a total
imprisonment term of292 months, the bottom of Defendant's guideline range.


         IThe Statement of Reasons attributes 426.08 grams ofcrack cocaine to Defendant, but it states
that the amount reported in the presentence report is accurate. The presentence report at paragraph 70
attributes 318.008 grams to Defendant. At paragraph 95, the presentence report reflects the 426.08
grams that the government argued were attributable to Defendant. It makes no difference in calculating
Defendant's advisory guideline range, however, because both amounts, 318.008 grams and 426.08
grams, fell within the same base offense level of34 in the drug quantity table. See VSSG § 2DI.I(c)(3)
(1998 Federal Sentencing Guidelines Manual).

        2Defendant is a career offender within the meaning ofD.S.S.G. § 4B 1.1. Because his offense
level from the career offender table was not higher than his level from the drug quantity table,
Defendant's career offender status did not result in an increase to his offense level under § 4B 1.1 (b)( I).

        3Ifthe Court had not lowered Defendant's offense level from 37 to 35 with the Booker variance,
his guideline range would have been 360 months to life.

        4Defendant was indicted and convicted prior to Apprendi v. New Jersey, 530 V.S. 466 (2000).
In Apprendi, the Supreme Court held that any fact, other than a prior conviction, that "increases the
penalty for a crime beyond the prescribed statutory maximum" must be included in the indictment and
proven to the jury beyond a reasonable doubt. Id. at 490. In Andrews' first appeal, the Eighth Circuit
held that, under Apprendi, the statutory maximum for each count against him was limited to 20 years
pursuant to 21 V.S.C. § 841(b)(I)(C) because the indictment failed to specify any drug quantity and the
jury did not find any particular quantity. See Bradford v. United States, 246 F .3d 1107, 1113 (8th Cir.
2001).

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        Applying the amended Guidelines, the offense level specified under USSG § 2Dl.l(c)(4)
sets a base offense level of 32 for the drug amounts attributed to Defendant. 5 After a three-level
increase for his role in the offense, his total offense level is 35. With a criminal history category of
VI, the resulting advisory guideline range is 292 to 365 months. This is the same range that this
Court used to sentence Defendant in 2005. Thus Defendant is not entitled to a sentence reduction
because his guideline range is not lowered by the Amendments.


       In footnote 3 the Court noted that ifDefendant' s offense level had not been lowered from 37
to 35 with the Booker variance, his guideline range would have been 360 months to life at his 2005
sentencing. This is a rare case where, by virtue of the Court's two-level Booker variance at his
sentencing, Defendant has already received the benefit intended by the Amendments. 6 Defendant
requests a further reduction. A sentence reduction is limited, however, by the policy statement in
USSG § 1B 1.1 0 prohibiting the Court from reducing a defendant's term of imprisonment to a term
that is less than the minimum of the amended Guideline range. See USSG § lBl.10(b)(2)(A). The
only exception is ifthe reduction below the Guideline range at the original sentencing was based on
the defendant's substantial assistance to authorities. See USSG § IB1.1O(b)(2)(B) (allowing a
comparable reduction below the minimum ofthe Guideline range ifthe original sentence was below
the Guideline range pursuant to a government motion based on the defendant's substantial




       5Both 318.008 and 426.08 grams of crack cocaine result in the same base offense level of 32
under the amended Guidelines. Defendant's career offender status again does not result in an
adjustment to his offense level under § 4B1.1(b)(I).

        6Because the 100: 1 crack/powder cocaine ratio resulted in unwarranted harsher sentences for
crack offenses, the Fair Sentencing Act of 20 I 0 reduced the statutory penalties for crack cocaine
offenses by increasing the quantity thresholds required to trigger a mandatory minimum term of
imprisonment. The quantity threshold required to trigger the 5-year mandatory minimum was
increased from 5 grams to 28 grams, and the quantity threshold required to trigger the 10-year
mandatory minimum was increased from 50 grams to 280 grams. This replaced the old 100: 1 ratio
with a new roughly 18:1 ratio. The Sentencing Guideline amendments to the crack cocaine drug
amounts were intended to account for these statutory changes by instituting a similar 18:1 ratio for
crack cocaine offenses. See 2011 Guidelines Manual, Appendix C, Vol. III at 393. This Court's two­
level variance at the 2005 sentencing accomplished this purpose and gave Defendant the full benefit
afforded by the Amendments.

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assistance). In the present case, the Court's two-level downward variance to reach the guideline
range of292 to 365 months at the initial sentencing hearing was not based on a government motion
to reflect Defendant's substantial assistance. It was based on the crack/powder disparity. Thus the
Court is prohibited from reducing Defendant's sentence any further because any reduction would be
below the amended Guideline range of292 to 365 months which results from the new crack cocaine
amendments. Accordingly,


       IT IS ORDERED that Defendant Joseph Andrews' motion for a modified sentence
       pursuant to 18 U.S.C. § 3582(c)(2), doc. 1219, is denied; and the government's
       motion to hold Defendant's motion in abeyance, doc. 1222, is denied as moot.
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       Dated this _~_"""';day of December, 2012.

                                      BY THE COURT:


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                                      LaWrence L. Piersol
                                      United States District Judge

ATTEST:
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BY:               ~
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